        Case 1:19-cv-02473-SAG Document 197 Filed 04/12/23 Page 1 of 36



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                                  *
GARY WASHINGTON,                                  *
                                                  *
                      Plaintiff,                  *
v.                                                *
                                                  *          Civil Case No. SAG-19-2473
BALTIMORE POLICE DEPT., et al.,                   *
                                                  *
                      Defendants.                 *
                                                  *
*      *       *       *      *       *       *       *      *       *      *       *       *

                                   MEMORANDUM OPINION

       Plaintiff Gary Washington filed an Amended Complaint against the Baltimore Police

Department (“BPD”) and several of its former homicide detectives, Thomas Pellegrini, Oscar

Requer, Richard Fahlteich, John Tewey, and Fred Ceruti (collectively, “the Officer Defendants”),

seeking damages resulting from Plaintiff’s thirty-two-year incarceration for a homicide he alleges

he did not commit. ECF 5. Discovery has now concluded and the Officer Defendants have filed a

motion seeking summary judgment. 1 ECF 161. Plaintiff opposed the motion, ECF 166, the Officer

Defendants filed a reply, ECF 179, and Plaintiff filed a surreply with leave of court. ECF 193. This

Court has considered those filings, the attached exhibits, and the supplemental exhibits and

arguments filed by the parties. ECF 188, 189, 190. This Court also held a motions hearing on

February 27, 2023. After considering all of those filings, exhibits, and arguments, this Court will

grant the Officer Defendants’ motion for the reasons described herein.




1
  This Court bifurcated Plaintiff’s Monell claims against the BPD, which will be addressed
separately. ECF 68.
        Case 1:19-cv-02473-SAG Document 197 Filed 04/12/23 Page 2 of 36



I.     FACTUAL AND PROCEDURAL HISTORY

       The chronology of events in this case, and the content of the statements made by various

witnesses at different times, are not in dispute, although there is present disagreement about what

actually happened during interactions between the Officer Defendants and various witnesses in

1986 and 1987. This summary, then, will focus on the statements, testimony, and undisputed facts

documented in the record.

        On the evening of December 27, 1986, Faheem Ali, known as “Bobo,” was fatally shot in

the 2300 block of Barclay Street in Baltimore City. ECF 166-4.The Officer Defendants, with some

other colleagues, responded to the scene to investigate the homicide. Id. An anonymous caller to

the police station reported that “Gary Ward” was responsible for Ali’s shooting. Id. at 3. The

officers conducted brief interviews with several persons they encountered in the vicinity of the

homicide, including a thirteen-year-old witness, Rozetta Dorsey. Id. Detectives Requer and

Pellegrini’s subsequent report stated:

               Rozetta Dorsey the thirteen year old witness was interviewed and it
               appears she know [sic] the name of the person responsible for the
               death of Faheem Rafig Ali. . . . Rozetta Dorsey was asked if she
               knew Ricky or Gary Washington. She knew both of them and
               remembered seeing the victim talking to Ricky before he was shot.
               She said, Ricky went into his house leaving the victim on his steps.
               “A car came around the corner and one of its occupants a man in a
               long tan coat called BoBo (victim) and he walked to the man and he
               shot him.” Ricky was not the person who did the shooting. I asked
               her if Gary was the person who shot BoBo, she hesitated and said
               she was not sure. It appears she know [sic] the identity of the suspect
               but is affraid.[sic]. She will be re-interviewed at a later date.

Id. Through their interviews, the police discovered that another young boy, Otis Robinson, may

have been out on the street at the time of the shooting and may have relevant information. ECF

161-10 at 3.




                                                 2
        Case 1:19-cv-02473-SAG Document 197 Filed 04/12/23 Page 3 of 36



      Robinson and his mother were transported to the police station two days after Ali’s shooting.

Id. at 3–4. There is a signed handwritten statement from Robinson in the record, documenting that

it was “taken in the homicide office large interview room on 29 Dec 86 at 2210 hrs.” ECF 166-16

at 1. In that handwritten statement, which appears in question-and-answer format, Robinson stated:

               I was in the living room with Mr. Herb at 2311 Barclay St., he gave
               me a dollar to go get a Coke & B.C. so I stepped out the door, I was
               walking up the street toward 24th Street, I heard Gary Washington
               and “Bo Bo” arguing and Gary asked about some money, and “Bo
               Bo” said I’ll get it when I’m ready to get it. Then Gary hit Bo Bo in
               his jaw then he drawed his gun, and shot “Bo Bo” then “Bo Bo” ran
               across the street tripped on the curb and fell on the sidewalk, on the
               other side of the street. Then I tried to get into my house but the door
               was locked so I ran back down to Herb’s house. When I was running
               down to Mr. Herb’s house I saw Gary Washington run up to Camp
               Street and meet up with a boy that was driving the red car. Gary got
               in the car and I saw them drive up 24th Street.

Id. at 1–2 (strikeouts in original). He also said that the other boy “was sitting on the steps next door

to Ricky Washington’s house, then when Gary pulled the gun out he shot ‘Bo Bo’ real fast then

the other boy started running up to Camp Street to get the car.” Id. at 2. Robinson answered “yes”

to the question, “You are giving this statement voluntarily and have not been threatened and your

mother Pamela Chavious is present during this statement, is that true and correct?” Id.at 4. After

Robinson interlineated and initialed certain changes to the factual statements written by the officer,

Robinson and his mother, Chavious, signed the statement. 2 Id. Their signatures were witnessed by

Detectives Pellegrini and Fahlteich. Id.

      The record also contains a typed statement from Robinson, “taken at the Homicide Unit

Office by Detective Oscar Requer in the presence of Detective Ceruti on January 2, 1987 at 1930.”

ECF 166-17 at 1. When asked to “tell me again what happened,” Robinson responded:



2
  For example, the officer had written that the victim “fell on the sidewalk, on the other side of the
street” and Robinson crossed out “on the other side of the street.” ECF 166-12 at 00052.


                                                   3
        Case 1:19-cv-02473-SAG Document 197 Filed 04/12/23 Page 4 of 36



               I was at my mother’s friend house at 2311 Barclay Street, his name
               is Herb. Mr. Herb gave me a dollar and asked me to go and get a
               coke and a B.C. I went out side and that’s when I saw Gary
               Washington and Bo Bo standing in front of Gary’s house. Gary was
               fussing with Bo Bo about some money. Gary asked him where was
               his money, and Bo Bo said “I’ll get it when I’am [sic] ready.” Gary
               hit him (Bo Bo) in his jaw, Bo Bo grabbed his jaw and Gary pulled
               out his gun real fast and pulled the triger. [sic] Gary threw the gun
               toward my side of the street (Odd side of the street). This other guy
               ran up the street to get the car. Then Gary ran toward the car and got
               in it and they drove toward Camp Street. Bo Bo was running and he
               tripped on the curve, I ran back to my house and banged on the door
               but couldn’t get in, so I ran down to Mr. Herb’s house. I told Mr.
               Herb that a boy was in front of his door was shot and I think he is
               dying.

Id. During the course of the question-and-answers documented in the typed statement, Detective

Pellegrini showed a photo array to Robinson, who identified Gary Washington when asked to

identify “the person you seen shoot Bo Bo.” Id. at 4; ECF 188-1 at 13 (report of photo array). That

typed statement containing the photo identification is also signed by Robinson, and was again

witnessed by Robinson’s mother, Chavious, and Detective Requer. ECF 166-17 at 4–5.

        The other juvenile witness, Dorsey, came to the police station with her mother on January

3, 1987. There is a written statement “taken at the Homicide Unit Office on 3 January 1987 at 1920

hours by Detective Oscar Requer in the presence of Detective Thomas Pellegrini.” ECF 166-21 at

1. During the typed statement, Officer Requer asks about an interview of Dorsey on the street on

the night of the murder, during which Dorsey denied knowing the person that shot “Bo Bo.” Id.

Dorsey admitted that Gary Washington shot “Bo Bo,” but stated that she did not tell Detective

Pellegrini on December 27, 1986 because she was afraid. Id. at 2. During the course of the

question-and-answer, Detective Pellegrini showed Dorsey a photo array and Dorsey picked a photo

of Gary Washington as “the person who shot and killed Bo Bo.” Id. at 4; ECF 188-1 at 12 (report

of photo array). Dorsey signed the typed statement to indicate that the pages “contain a true and




                                                 4
        Case 1:19-cv-02473-SAG Document 197 Filed 04/12/23 Page 5 of 36



correct statement of facts just given us by you.” ECF 166-21 at 5. The statement was also witnessed

and signed by Detectives Pellegrini and Requer, along with Dorsey’s mother, Bridget Scott. Id.

       On January 5, 1987, the Officer Defendants sought a search warrant for Plaintiff’s

residence, on the basis of the written statements and eyewitness identifications from Robinson and

Dorsey, along with the location of the homicide in front of Plaintiff’s home. ECF 166-12 at 78–

82.

       On January 7, 1987, Robinson testified before a grand jury and told a story consistent with

his written eyewitness statements, again identifying Plaintiff as the person he saw shoot Ali. ECF

161-14. He told the grand jury, “I saw Gary Washington and a boy named Bobo arguing about

some money and Gary told him he better have his money and Bobo say he will wait. And Gary

quickly hit him in his jaw and drawed a gun and he shot ‘em. Then Bobo ran across the street and

tripped on a curb at 2311 and Gary Washington tossed the gun he shot Bobo with up on the roof.”

Id. at 3. Robinson testified that initially he had seen three men talking but just before the shooting,

the third man “ran up and backed the car out of Camp Street and was waiting for Gary

Washington.” Id. He also testified he had known Bobo “about a year.” Id. at 4.

       On April 27, 1987, during an interview at the State’s Attorney’s Office, Robinson’s mother,

Pamela Chavious, told Detectives Requer and Pellegrini that Ricky Washington, Plaintiff’s

brother, had approached Robinson and “told him when it came time, that he better say the right

thing” and that he is giving Robinson “hard looks” when he sees him. ECF 166-11 at 239–40; ECF

166-12 at 26. Based on that information, the States Attorney’s Office agreed to relocate Robinson

and his mother. Id.

       The state court held a motions hearing in Plaintiff’s criminal case on June 4, 1987. ECF

161-9. Robinson also again testified, consistent with his witness statements and grand jury




                                                  5
         Case 1:19-cv-02473-SAG Document 197 Filed 04/12/23 Page 6 of 36



testimony, that Plaintiff shot Ali. Id. at 24. 3 Specifically, Robinson testified that he knew the

victim, “Bobo,” also “by his Moslem name, but I can’t pronounce it.” Id. at 8. He testified that

when he walked outside he saw three people: Plaintiff, Bobo, and some other boy. Id. at 13. They

were on the sidewalk in front of Plaintiff’s house. Id. Robinson testified that he heard an argument

between “Gary and Bobo.” Id. at 17. Bobo was wearing a brown bomber jacket and Plaintiff had

a long tan coat. Id. at 18. They were standing sideways towards Robinson. Id. at 22. Robinson

testified that he saw Plaintiff hit Bobo in the face with the palm of his hand one time. Id. at 23–24.

Then, “[h]e drawed his gun and shot him.” Id. at 24. About a minute before the shooting occurred,

the third boy Robinson had seen ran up to Camp Street. Id. at 25. Plaintiff threw the gun on the

roof, and then he met up with the boy on Camp Street and they rode to 24th Street. Id. at 25.

Robinson testified that Plaintiff was limping. Id. at 29. He affirmed that he told the police “pretty

much” what he was testifying to in Court. Id. at 32. Detective Pellegrini also testified at the motions

hearing, explaining that he interviewed Robinson on December 29 and eventually showed him a

photo array after Robinson had identified Plaintiff as the shooter. Id. at 39–41. After considering

the testimony, the judge denied Plaintiff’s motion to suppress the eyewitness identification of

Plaintiff as the perpetrator. Id. at 50.

        Plaintiff’s trial began on June 5, 1987. During the trial, Robinson again testified consistent

with all of his prior statements:

                I heard an argument. As I started out the door, and as I got past my
                house, it got a little louder. I started looking at Gary Washington and
                Bo Bo, who was sitting on the steps next door. I heard an argument
                over some money. Then Gary Washington smacked Bo Bo and his
                partner ran up Camp Street. Gary quickly shot Bo Bo. They drove
                up Camp Street and I started banging on my door.



3
 Unless noted otherwise, page number references to this and other exhibits refer to the ECF
pagination at the top of the page.


                                                  6
        Case 1:19-cv-02473-SAG Document 197 Filed 04/12/23 Page 7 of 36



ECF 161-10 at 12. Robinson testified that Plaintiff was wearing “a long tan coat and I didn’t see

his pants.” Id. at 17. He testified that the gun was silver. Id. at 19. He testified that “the partner”

ran and backed up the car, and when Plaintiff got in the car it “drove up 24th Street.” Id. at 20. He

described the car as “a red car with antenna in the back” and “something like a Prelude.” Id. at 22–

23. He also testified that Plaintiff “had a little limp” while running and that he knew Bobo “from

being around that area.” Id. at 21, 24. On June 16, 1987, after hearing Robinson’s testimony and

other evidence, the jury convicted Plaintiff of Ali’s murder. ECF 161-27. He received a sentence

of life in prison plus twenty years. ECF 161-34 at 2.

        Almost ten years after Plaintiff’s conviction, when affirmatively contacted by an

investigator hired by Plaintiff, ECF 161-43 at 3, Robinson recanted his repeated sworn testimony.

In a written declaration dated August 2, 1996, taken at Plaintiff’s family’s house at 2328 Barclay

Street in the presence of Plaintiff’s investigator, John Traut, Robinson stated for the first time that

the Officer Defendants had coerced him into implicating Plaintiff. ECF 161-22; ECF 161-22 at

256–57. Robinson said, in his own handwriting when asked, “Describe what you saw”:

                Three men standing in front of 2328 Barclay St. talking when one
                of the men shot another man standing curbside along the street the
                guy that got shot ran toward 2311 and collapsed on the pavment [sic]
                while the other two men walked up Barclay and turned down Camp
                St. and drove off in a red car and went up Barclay St.

ECF 161-22 at 2. Robinson stated that he knew Plaintiff but that he did not see him on the street

that night and that Plaintiff did not shoot the victim. Id. at 3.

        Armed with that recantation, Plaintiff filed a post-conviction proceeding in the Circuit

Court for Baltimore City. Plaintiff sought to set aside his conviction on the grounds that the

officers’ fabrication and coercion of Robinson’s testimony violated his constitutional rights. ECF

161-29 at 2, 3. The judge assigned to the petition, Judge Allen L. Schwait, held an evidentiary




                                                   7
          Case 1:19-cv-02473-SAG Document 197 Filed 04/12/23 Page 8 of 36



hearing. On December 6, 1999, Robinson testified at that hearing that his 1987 testimony was

untrue and that he has no personal knowledge that Plaintiff shot Ali because he saw three men in

front of Plaintiff’s house but could not identify them. ECF 166-9 at 12, 16. 4 He testified that he

went to the police station with his mother, Pamela Chavious, and went to the homicide unit where

he met with Detectives Pellegrini and Fahlteich. Id. at 16–17. His mother was not in the room, and

he told the detectives that he saw three men but could not identify anyone. Id. at 18–20. After he

said that, they showed him a photo lineup with six mugshots and asked him if he knew Gary or

Ricky Washington and he said yes. Id. at 20–21. They gave him the photos with the lineup and he

pointed at Plaintiff because he “knew him.” Id. The written statement of questions and answers

was taken after the identification. Id. at 21. When asked during the identification if Plaintiff

committed the murder, he said no, but the detectives “stated I was lying, I knew everything about

the murder, if I didn’t cooperate with them that I would never see my mother again.” Id. at 22.

They told him they know Plaintiff “did it” and all they needed was his help and he would not have

to go to court. Id. at 23. They kept showing him the pictures and he finally agreed that Plaintiff

was the shooter because he was scared. Id. at 24–25. He summarized that the only details that the

officers made him falsely say were the identity of the shooter, that they were arguing over money,

and that a red car was involved. Id. at 48, 66. He did not recall ever signing a similar statement

saying the same thing on another occasion. Id. at 27. He also testified that in 1987, he told the

police that he had seen a red car earlier that day but denied having seen it leave the scene of the

murder. Id. at 65. Robinson admitted that he did not tell the prosecutor he was lying when he went

before the grand jury because, “I felt as though they wasn’t going to leave me alone unless I did

what they wanted me to do.” Id. at 31. He also did not tell the other prosecutor, who interviewed



4
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                                                  8
          Case 1:19-cv-02473-SAG Document 197 Filed 04/12/23 Page 9 of 36



him several times before the trial, that his statement was false. Id. at 32. He came to court for the

trial with his mother and was interviewed by the state’s attorney before he testified. Id. at 33. He

confirmed that the December 1986 written interview statement bears his signature and the

signature of his mother. Id. at 50–51. He also confirmed that he did not come forward to recant

until Plaintiff’s investigator approached him. Id. at 57. As of 1999, Robinson testified that he still

sees Plaintiff’s family every once in a while. Id. at 58, 59. At the conclusion of the hearing, Judge

Schwait deemed Robinson’s recantation testimony and the suggested coercion “incredible.” ECF

161-29 at 3–4. He therefore denied relief on Plaintiff’s coercion-based claim. Id. at 4.

          The then-Court of Special Appeals issued an opinion on April 9, 2002, affirming Judge

Schwait’s finding. ECF 161-30. The appellate court reasoned:

                  In the case at bar, there was ample evidence that impeached Otis
                  Robinson’s recantation. He had many opportunities to recant. Yet
                  he did not do so (1) when he was testifying before the Grand Jury,
                  when no police officers were present, or (2) during the trial. He
                  stated that he never informed his mother that the police had coerced
                  him or that he had lied. Although he claimed that he had told his
                  father about his false statement, he never sought to recant his
                  testimony until he was contacted by appellant’s private investigator.
                  We are persuaded that Judge Schwait was not clearly erroneous in
                  rejecting a recantation that occurred 12 years after the witness
                  testified at trial.

Id. at 20.

          Another fifteen years later, in 2016, Plaintiff filed a petition for writ of actual innocence in

his criminal case. ECF 161-32 at 1. Baltimore City Circuit Judge Charles J. Peters held an

evidentiary hearing, at which Robinson testified that as he came out of his house, he saw two

people across the street talking but could not identify either of them. ECF 166-13 at 1321, 1360. 5

As he was walking to the store, he heard a gunshot and ran back to his house for safety. Id. at 1319.



5
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                                                     9
       Case 1:19-cv-02473-SAG Document 197 Filed 04/12/23 Page 10 of 36



He did not look over or see anything happen, but on his way to his house he saw the victim he did

not know running south and collapsing in front of the home that Robinson was running towards.

Id. at 1320, 1323. Robinson testified that he saw a red car circling the block earlier in the day but

did not see it at the time of the murder. Id. at 1354. Several days after the shooting, police came

and picked up him and his mother and drove to headquarters. Id. at 1326–27. His mother left the

room and he told the officers the same story he just recounted about not having seen anything. Id.

at 1327–28. Detective Fahlteich then “started getting louder” and said Robinson was with the

victim before the shooting and would be charged with first degree murder if he did not cooperate.

Id. at 1328. Detective Fahlteich left the room and Detective Requer came in and asked whether

Robinson knew the Washingtons. Id. at 1329. Robinson said yes and Requer showed a photo,

which Robinson identified as Gary Washington. Id. Requer left again and Pellegrini was asking

Robinson if the Washingtons were “pretty bad dudes” or “drug dealers.” Id. Robinson said he did

not know, as Pellegrini was taking notes. Id. Requer came back with a picture of Ricky Washington

and asked Robinson whether he knew him, to which he said yes. Id. at 1329. The officers asked,

“You think Gary shot this guy?” Id. at 1330. They showed Robinson a third picture of a person he

did not know. Id. at 1330. “It wasn’t until the end of the fabricated statement they showed me the

photo array. Two, possibly three times.” Id. Pellegrini was asking, “you think Gary shot this guy?”

“You think Ricky shot this guy?” Id. at 1331. When Pellegrini again asked, “did you recognize

any of them?”, Robinson said “Gary Washington.” Id. He explained that he chose Plaintiff because

it was the “first picture that I’m going along with.” Id. at 1331–32. Once he identified Plaintiff,

the officers asked about the other guy and Robinson reiterated, “I don’t know who he was.” Id.

Then Pellegrini asked, “who pulled the gun?” and Robinson said, “Gary pulled the gun.” Id. When

Pellegrini asked “how many shots was it?”, Robinson said “one shot.” Id. at 1333. Robinson also




                                                 10
       Case 1:19-cv-02473-SAG Document 197 Filed 04/12/23 Page 11 of 36



told them that the “only suspicious thing I seen was a red car riding around my block that I never

seen before.” Id. at 1334. The officers asked, “well, you think that’s the car Gary got into” and

Robinson went “along with it.” Id. After that, the detectives brought in one of possibly three photo

arrays during the first interview. Id. at 1379. Robinson testified that Pellegrini’s handwritten

“original statement” for Robinson, which documented that he did not see anything, was sitting on

the table but he had no opportunity to review or sign it. ECF at 1370. During the hearing before

Judge Peters, Robinson again did not testify about a second interview with the detectives. He

identified his signature on the December 1986 handwritten statement. Id. at 1343–44.

       Following the hearing, Judge Peters granted Plaintiff’s petition for writ of actual innocence,

ordering a new trial. ECF 166-3. Judge Peters reasoned, in part, “This Court is left with the

inescapable conclusion that multiple recantations of the uncorroborated testimony by the sole

eyewitness in Petitioner’s case have to create a substantial possibility of a different result.” Id. at

5–6. Instead of retrying the murder case, the State dismissed the charges against Plaintiff on

January 15, 2019. At that time, Plaintiff had been incarcerated for more than three decades. This

lawsuit ensued later in 2019.

       Discovery in this case has revealed the present state of the documentary and testimonial

evidence. As of September 2, 2020, Paul Polansky, Plaintiff’s defense lawyer at the time of his

criminal prosecution in 1987, represented:

               Unfortunately, I have absolutely no documents or information that
               still exists relative to the above captioned case. This case happened
               twenty-five (25) to thirty (30) years ago and those files were
               destroyed some years ago. Furthermore, I have very little
               recollection of the specifics of this case and do not believe that I
               could provide you with any relevant information.

ECF 161-20 at 1.




                                                  11
       Case 1:19-cv-02473-SAG Document 197 Filed 04/12/23 Page 12 of 36



       Dorsey gave an affidavit to Plaintiff’s private investigators on September 22, 2020, about

one year after this case was filed. ECF 161-8. In that affidavit, Dorsey says she did not see anything

on the date of the murder and she only signed the written statement summarizing her interview

with police “because I was a kid and my mother told me to.” Id. ¶ 33. She also says in the affidavit

that in the car on the way to the station she “saw the officer give my mother money” and that “the

police knew [her mother] was an addict.” Id. ¶ 19, 20.

       The prosecutor in Plaintiff’s case, Ruth Finch, was deposed in 2021. She testified that “the

only independent recollection that I have is that I remember the name Gary Washington and I

remember the names of some of the detectives.” ECF 179-13 at 3. None of the documents shown

refreshed her recollection about this case. See generally id. She did say if she had received any

exculpatory information she would have disclosed it to the defense. Id. at 11–14.

       Robinson was deposed on May 12, 2021, years after his testimony at Plaintiff’s post-

conviction and actual innocence hearings. ECF 161-28; 166-11. Unlike in his prior recantation

testimony, this time, Robinson recalls going to the police station on a second occasion and signing

a typed statement. ECF 166-11 at 14. He again testified about the night of the murder, saying it

was dark and he could not see anyone. Id. at 20. He testified he had seen a red car earlier that day

but the shooter did not get into it. Id. at 203–04. He said that during the interview with the police,

he was just agreeing with leading questions like “did he have a tan coat on?” or “Was it a Stanza

or Prelude?” Id. at 208–09. He claims he did not recognize the victim as anyone he knew and only

learned the victim’s name was “Bobo” later from Detective Fahlteich. Id. at 22, 32. He said that

the police brought him and his mother to the police station and that after introductions, his mom

left the room with another officer, leaving Detectives Pellegrini and Fahlteich. Id. Detective

Pellegrini was taking notes when Robinson said he did not see anything, but the detectives alleged




                                                 12
       Case 1:19-cv-02473-SAG Document 197 Filed 04/12/23 Page 13 of 36



that he set Bobo up and would be taken away from his mother. Id. at 31–32. Detective Requer then

came in the room and showed Robinson mugshots of Plaintiff and then Ricky Washington. Id.

Detective Requer kept pointing his finger at the top of Plaintiff’s picture. Id. at 35. The officers’

voices kept getting louder and they said that the Washingtons were “pretty bad dudes” and “drug

dealers” Id. at 36. Detective Requer said he “want[s] to take Gary Washington off the street for a

very long time.” Id. at 39. They kept saying “we know one of them did it, man. All you got to do

is point one of them out.” Id. When Detective Pellegrini gave Robinson the written statement to

sign, he also showed the notes to Robinson that he had been taking during his original statement,

but did not ask him to sign those. Id. at 52, 97–98. Those notes accurately reflected that Robinson

could not see the shooter. Id. at 53. Robinson testified that he went back to the police station with

his mom a few days later. Id. at 53. This time they gave him a photo array, and he “just wanted to

get out of the police station and I went along with what they said.” Id. at 58. The detectives did not

say anything to him when they showed him the six photos. Id. at 59. He then went to the grand

jury with his mother. Id. at 60–61. He did not tell his mother that he had been threatened by the

police at any point. Id. at 61. He also did not tell the prosecutor he met before he went to the grand

jury, because he “didn’t feel comfortable with him.” Id. at 63. He met with the trial prosecutor

several times before trial, but never told her that his statement identifying Plaintiff was false

because he “didn’t feel comfortable with it” and “they weren’t going to leave me alone until they

got what they got.” Id. at 64. He says nobody from Plaintiff’s family ever threatened him from

time of the shooting through the trial. Id. at 65. He says he only told his father, who was deceased

by the time of his deposition, that the police had threatened him. Id. at 67. He testified that a

neighbor told him once that Plaintiff had gotten shot, but he never noticed at any point in time that




                                                 13
          Case 1:19-cv-02473-SAG Document 197 Filed 04/12/23 Page 14 of 36



he had any problem walking or had a limp. Id. at 148. He does not remember Plaintiff limping and

does not remember testifying that he limped after the shooting. Id. at 149.

          Detective Pellegrini was deposed on November 2, 2021. ECF 166-6. He remembers

working as a homicide detective in the case, but does not remember if he was the lead detective.

Id. at 9. 6 He testified that, “A parent or guardian should always be with a juvenile for an interview

or statement.” Id. at 133. His practice was to make sure there was always an adult responsible for

the child present when he interviewed a child. Id. at 135. He testified that he never obtained a

statement from a child outside the presence of a parent, guardian or relative. Id. at 162. Pellegrini

had little recollection of what happened at the crime scene or of the details of the investigation. Id.

at 180–88, 195–200, 215 (“And if the case was real fresh and I had a good recollection of it, I

could answer your questions better, but I’m at a disadvantage when I don’t recall, id. at 215.”). He

does not recall speaking to Dorsey at the scene of the homicide. Id. at 238–43. He does not recall

speaking with Robinson or interviewing him at the station. Id. at 245, 247. He identified his own

handwriting on Robinson’s handwritten statement, but did not recall writing it. Id. at 250–51. He

testified he would not have threatened to take Robinson away from his mother or pressured him to

give a different version of events. Id. at 255. He has no recollection of showing the photo array to

Robinson. Id. at 260–65. If Robinson had been threatened or interviewed outside the presence of

his mother, Pellegrini would have disclosed it to the prosecutor. Id. at 276. He also has no

recollection of showing a photo array to Dorsey. Id. at 293–96. He testified that before the

deposition he reviewed the “bits and pieces” that were left of “the case file,” because the files are




6
    Page references for this exhibit refer to the page numbers of the deposition transcript.


                                                   14
          Case 1:19-cv-02473-SAG Document 197 Filed 04/12/23 Page 15 of 36



put on microfilm and “a lot of stuff in the case files are thrown in the trash.” Id. at 308–09. He

testified that what he reviewed “wasn’t a complete case file.” Id. at 310. 7

          Detective Requer was deposed on November 9, 2021. ECF 166-7. 8 He testified that “a

juvenile, a person ten, twelve, eleven, whatever, you don’t interview them unless they have a parent

or guardian present, adult there.” Id. at 68. He stated “[f]irst of all, a detective, especially me,

wouldn’t try to interview a child without their parent being there, whether they be scared or not,

they got to have an adult there for me to even talk to them, period. No exception.” Id. at 71. He

testified that a State’s Attorney would review the entire folder and decide what reports they wanted.

Id. at 101–02. He testified that he turned over “whatever I had for that homicide case . . . of course

we turned it over.” Id. at 127. Detective Requer had no present recollection of this investigation.

See generally id.; see, e.g., id. at 238 (“How do you know I didn’t do anything? I really don’t

remember.”). He testified that it would be inappropriate to point out one of the photos in a photo

array to suggest to the person who he should select. Id. at 287. He also testified that he does not

remember having interactions with Dorsey’s mother, Bridget Scott, and did not know she was on

illegal drugs. Id. at 308–09. He testified that he would not have interviewed a child supervised by

“a junkie.” Id. at 310–12. He also testified that if he had given money to Dorsey’s mother, there

would be some record somewhere of him having obtained police funds because, “I wouldn’t give

her money myself cause I don’t even have the money to give her.” Id. at 313. He denied threatening




7
 Detective Pellegrini’s Answers to Interrogatories further illuminate some of the specific items
missing from the present-day version of the “homicide file.” See ECF 179-10 at 3–4 (noting that
Polaroid photographs and a written statement from Dorsey are no longer in the file that was
preserved).
8
    Page references for this exhibit refer to the page numbers of the deposition transcript.


                                                   15
          Case 1:19-cv-02473-SAG Document 197 Filed 04/12/23 Page 16 of 36



Robinson’s mother in any way. Id. at 316. He does not specifically recall any interaction with the

trial prosecutor, Ms. Finch. Id. at 346. 9

          The prosecutor who handled Plaintiff’s actual innocence proceeding in 2016, Andrea

Mason, was deposed on April 12, 2022. ECF 161-23. She testified about the file keeping practices

of the homicide unit and the State’s Attorney’s Office (“SAO”). She had no specific recollection

about whether she ever found an SAO file for Plaintiff’s case. Id. at 9. She remembers seeing some

documents but does not know whether they were from the police department files or the SAO. Id.

at 11. She did not remember whether she ever had the full set of discovery that the parties had

exchanged. Id. at 11–12. And she did not know whether whatever file she reviewed is the same

file that existed in 1987. Id. at 13.

          Robinson’s mother, Pamela Chavious, was also deposed on April 12, 2022. ECF 166-15.10

She testified that Robinson was crying and upset after the homicide. Id. at 29. He kept telling her

that his friend Bobo got killed and he “worked up at the stadium with him.” Id. at 61. She said,

“All he kept saying was his friend, his friend.” Id. Robinson was so upset that he asked to stay

with his grandparents away from the block where the murder occurred. Id. at 29–30. A couple of

days later, though, the police came and told her that if she did not bring her son home, they would

lock her up. Id. at 32–34. She said that while they were at the police station, the police asked her

to step out of the room while they talked to Robinson. Id. at 38. She does not know how long she

was outside the room. Id. at 44. Robinson was crying the whole time at the police station. Id. at




9
 The record also contains deposition excerpts from Detectives Tewey and Ceruti, who had less
direct involvement in this investigation and who likewise have almost no recollection of this
case. See ECF 161-33; ECF 161-37. Detective Fahlteich passed away in 2023 and there is no
deposition testimony from him in the record presented to this Court.
10
     Page references for this exhibit refer to the page numbers of the deposition transcript.


                                                   16
          Case 1:19-cv-02473-SAG Document 197 Filed 04/12/23 Page 17 of 36



43–44. Chavious identified her signature on the various documents but does not remember a

second trip to the police station or a photo array. Id. at 76. She has very little recollection of any

of the documents or records in the case. See generally id. Chavious did recall that before the trial,

Ricky Washington knocked on her door and threatened that Robinson “better keep his mouth shut.”

Id. at 85. The prosecutors moved them to a motel because of Ricky Washington’s threats. Id. at

100–101. During the trial, someone threw a brick into Chavious’s house. Id. at 103–04. She

confirmed that Robinson never talked to her about his identification of Plaintiff, his recantation,

or police coercion. Id. at 120–21. She denied ever having stored drugs in her home for Plaintiff,

despite Plaintiff’s deposition testimony (described below) that she had. Id. at 165–69.

          Dorsey sat for deposition on May 5, 2022. ECF 166-20. 11 Prior to the deposition, Plaintiff

arranged for a lawyer to represent Dorsey. Id. at 40, 264. Dorsey testified that about two years

earlier, in 2020, an investigator for Plaintiff repeatedly came to her home to try to meet with her.

Id. at 95–98. After about four or five visits from him “trying to get her to be a witness,” she finally

agreed to speak with him. Id. at 99. She told him that in 1987, she was on a playground blocks

away when she heard gunshots and ran towards the shooting. Id. at 23. Dorsey does not remember

many of the details of the day, although she remembers who she was playing with and that she ran

to inform Bobo’s cousin. Id. at 25–26, 31. Dorsey describes that she went to the homicide office

on January 3, 1987, with her mother who was using drugs at the time. Id. at 59. In the car on the

way to the police station the officer gave something to her mother, but she does not know what it

was. Id. at 144–45. Once they arrived at the station, Dorsey’s mother left the room for about 20

minutes with the officers but returned before the officers asked any questions. Id. at 62–63. Dorsey

remembers going to the police station but does not otherwise remember talking to the officers. Id.



11
     Page references for this exhibit refer to the page numbers of the deposition transcript.


                                                   17
          Case 1:19-cv-02473-SAG Document 197 Filed 04/12/23 Page 18 of 36



at 148–50. She does not remember being afraid of the police officers. Id. at 65 She does not

remember if she picked a photo from the photo array, but she thinks she was asked whether anyone

on the photo array was familiar. Id. at 74–75. Although she did not know Plaintiff at all, she

recognized him from seeing him in the neighborhood. Id. at 76. Dorsey said she signed the written

statement documenting her interview without reviewing it “because my mom was present.” Id. at

174–75. She said she “didn’t understand and didn’t know some of the words” but signed because

“my mother told me to.” Id. While she says she signed the statement, she does not remember seeing

it at the police station. Id. at 201. The police never told her what to say. Id. at 233. The only

inaccuracy in the 2020 affidavit she gave Plaintiff’s investigator is that she did not ever see the

officer give money to her mother. Id. at 279.

          Plaintiff sat for deposition on March 1, 2022. ECF 166-2. 12 He testified that he walked with

a limp back when he was arrested for the murder in 1987, because he had been previously shot in

the foot. Id. at 11. He testified he is happily married. Id. at 23. He is in good physical health with

the exception of high blood pressure, id. at 135, has never been seen by a mental health

professional, id. at 135-36, does not believe he has a mental illness, id. at 136–38, and is not

claiming any impairment of his sexual relationship with his wife. Id. at 143. Plaintiff does suffer

from sleep deprivation on some nights because he dreams about the way he was treated in prison.

Id. at 136–37. Plaintiff began working full-time for a construction company shortly after his release

from prison, but when the pandemic slowed construction work down, Plaintiff started attending

school and has attended school ever since. Id. at 88–92. He also plays chess at a barber shop and

on the computer, plays basketball occasionally, and attends church and goes out to eat with his

wife every week. Id. at 132–33. He also testified that he had a dispute with Robinson’s mother



12
     Page references for this exhibit refer to the page numbers of the deposition transcript.


                                                   18
       Case 1:19-cv-02473-SAG Document 197 Filed 04/12/23 Page 19 of 36



prior to Ali’s murder, because Robinson’s mother was refusing to hold drugs for Plaintiff, who

was dealing heroin. Id. at 30–33. Plaintiff believed that Robinson’s mother “held that resentment

against me.” Id. at 34.

II.    LEGAL STANDARDS

       Under Rule 56(a) of the Federal Rules of Civil Procedure, summary judgment is

appropriate only “if the movant shows that there is no genuine dispute as to any material fact and

the movant is entitled to judgment as a matter of law.” The moving party bears the burden of

showing that there is no genuine dispute of material fact. See Casey v. Geek Squad, 823 F. Supp.

2d 334, 348 (D. Md. 2011) (citing Pulliam Inv. Co. v. Cameo Props., 810 F.2d 1282, 1286 (4th

Cir. 1987)). If the moving party establishes that there is no evidence to support an element of the

non-moving party’s case, the burden then shifts to the non-moving party to proffer specific facts

to show a genuine issue exists for trial. Id. The non-moving party must provide enough admissible

evidence to “carry the burden of proof in [its] claim at trial.” Id. at 349 (quoting Mitchell v. Data

Gen. Corp., 12 F.3d 1310, 1315–16 (4th Cir. 1993)). The mere existence of a scintilla of evidence

in support of the non-moving party’s position will be insufficient; there must be evidence on which

the jury could reasonably find in its favor. Id. at 348 (citing Anderson v. Liberty Lobby, Inc., 477

U.S. 242, 251 (1986)). Moreover, a genuine issue of material fact cannot rest on “mere speculation,

or building one inference upon another.” Id. at 349 (quoting Miskin v. Baxter Healthcare Corp.,

107 F. Supp. 2d 669, 671 (D. Md. 1999)). Finally, where a movant has met the initial burden of

demonstrating to the court that there is no genuine issue of material fact, the non-moving party

may not rest on the allegations averred in her pleadings. Celotex Corp. v. Catrett, 477 U.S. 317,

324 (1986).




                                                 19
       Case 1:19-cv-02473-SAG Document 197 Filed 04/12/23 Page 20 of 36



       Summary judgment shall therefore be warranted if the non-moving party fails to provide

evidence that establishes an essential element of the case. Casey v. Geek Squad, 823 F. Supp. 2d

at 352. The non-moving party “must produce competent evidence on each element of [its] claim.”

Id. at 348–49 (quoting Miskin, 107 F. Supp. 2d at 671). If the non-moving party fails to do so,

“there can be no genuine issue as to any material fact,” because the failure to prove an essential

element of the case “necessarily renders all other facts immaterial.” Id. at 352 (quoting Celotex,

477 U.S. at 322–23; Coleman v. United States, 369 F. App’x 459, 461 (4th Cir. 2010)

(unpublished)). In ruling on a motion for summary judgment, a court must view all of the facts,

including reasonable inferences to be drawn from them, “in the light most favorable to the party

opposing the motion.” Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587–88

(1986) (quoting United States v. Diebold, Inc., 369 U.S. 654, 655 (1962)).

III.   ANALYSIS

       A. Section 1983 Claims (Due Process)

       42 U.S.C. § 1983 allows “a party who has been deprived of a federal right under the color

of state law to seek relief.” City of Monterey v. Del Monte Dunes at Monterey, Ltd., 526 U.S. 687,

707 (1999). To prove a § 1983 claim, a plaintiff must establish a violation of a right secured by

the Constitution or laws of the United States by a “person acting under color of state law.” West v.

Atkins, 487 U.S. 42, 48 (1988).

       In cases that allege unconstitutional action by an arm of the executive branch of

government, “only the most egregious official conduct can be said to be ‘arbitrary in the

constitutional sense,’” such that a substantive due process violation lies. County of Sacramento v.

Lewis, 523 U.S. 833, 846 (1998) (quoting Collins v. City of Harker Heights, 503 U.S. 115, 129

(1992)). Specifically, the U.S. Supreme Court in Lewis reaffirmed that only official conduct that




                                                20
       Case 1:19-cv-02473-SAG Document 197 Filed 04/12/23 Page 21 of 36



“shocks the conscience” will give rise to a substantive due process violation. Id. at 846–47; see

also, e.g., United States v. Salerno, 481 U.S. 739, 746 (1987) (“So-called ‘substantive due process’

prevents the government from engaging in conduct that ‘shocks the conscience,’ or interferes with

rights ‘implicit in the concept of ordered liberty.’” (citations omitted)); Temkin v. Frederick Cnty.

Comm’rs, 945 F.2d 716, 720 (4th Cir. 1991) (“[C]onduct which ‘amount[s] to a brutal and

inhumane abuse of official power literally shocking to the conscience,’ violates the substantive

guarantees of the Due Process Clause . . . .” (quoting Hall v. Tawney, 621 F.2d 607, 613 (4th Cir.

1980))). The “most likely” sort of conduct to “shock the conscience,” the U.S. Supreme Court

noted, was “conduct intended to injure in some way unjustifiable by any government interest.”

Lewis, 532 U.S. at 849 (citing Daniels v. Williams, 474 U.S. 327, 331 (1986)).

       Here, there is no dispute that the Officer Defendants were acting under the color of state

law as members of the BPD. The question is whether the Officer Defendants infringed Plaintiff’s

due process rights in the ways addressed below.

           1. Coercion/Evidence Fabrication Claims (Count I)

       With respect to the statements by both Robinson and Dorsey identifying Plaintiff as the

shooter, Plaintiff claims that the Officer Defendants denied him due process because they

fabricated the evidence (in Robinson’s case, through coercing him to give false testimony). The

law recognizes “a due process right not to be deprived of liberty as a result of the fabrication of

evidence by a government officer acting in an investigative capacity.” Massey v. Ojaniit, 759 F.3d

343, 354 (4th Cir. 2014) (quoting Washington v. Wilmore, 407 F.3d 274, 282 (4th Cir. 2005)

(internal quotation marks omitted)). The elements of a fabrication claim require a plaintiff to show

“(1) the defendants fabricated evidence, and (2) the fabrication resulted in a deprivation of

[Plaintiff’s] liberty.” Martin v. Conner, 882 F. Supp. 2d 820, 847 (D. Md. 2012) (internal quotation

marks and citations omitted).


                                                 21
       Case 1:19-cv-02473-SAG Document 197 Filed 04/12/23 Page 22 of 36



              i.      Robinson

       Plaintiff has introduced evidence, namely Robinson’s various recantations from 1999

through present day, suggesting that his identifications of Plaintiff as the shooter in his police

statements and sworn testimony were fabricated and coerced by the Officer Defendants. For their

part, the Officer Defendants have denied ever engaging in such coercion or fabrication. While this

situation would typically present a quintessential issue of fact for the factfinder, a legal wrinkle is

present here due to this case’s procedural history.

       As described above, on December 10, 1999, Judge Schwait issued an opinion after hearing

testimony from Robinson describing the alleged fabrication and coercion, including the fact that

he originally insisted he did not see who committed the murder and the fact that the officers told

him he would never see his mother again if he did not tell them what he knew. ECF 161-29 at 3.

Judge Schwait concluded:

                   Petitioner’s allegation that his constitutional rights were violated
                   because the Baltimore City Police coerced Mr. Robinson to testify
                   that Petitioner had committed the crime must fail. First, the evidence
                   presented to this Court is insufficient to support a finding that the
                   Police did, in fact, coerce Mr. Robinson. Before and throughout
                   Petitioner’s trial, Mr. Robinson maintained that his statement that
                   Petitioner was the one who committed the murder was true: Mr.
                   Robinson gave that statement, which he and his mother signed, to
                   the Police and repeated that statement as sworn testimony before the
                   Grand Jury, during pretrial motions, and at Petitioner’s trial. His
                   identification of Petitioner as the one who committed the murder
                   remained unchanged throughout the entire trial process. Only today,
                   over thirteen years later, does Mr. Robinson change his story. This
                   Court finds Mr. Robinson’s testimony incredible. Therefore,
                   Petitioner’s allegation on this basis must fail.

ECF 161-29 at 3–4.

       Almost eighteen years later, Judge Peters held hearings in Plaintiff’s criminal case to

consider his Petition for Writ of Actual Innocence. ECF 161-32. Under the applicable standard,




                                                    22
        Case 1:19-cv-02473-SAG Document 197 Filed 04/12/23 Page 23 of 36



Judge Peters had to determine whether Plaintiff showed “newly discovered evidence that supports

a claim that petitioner is innocent of the crime of which he or she was convicted.” ECF 161-32 at

2 (citing Smith v. State, 233 Md. App. 372, 410–11 (2017)). Judge Peters determined that

Robinson’s recantations constituted “newly discovered evidence” because based on the “strong

and consistent” testimony and statements Robinson made at or near the time of trial, “the Petitioner

would not have had any reason to believe Robinson would later recant.” Id. at 3. Judge Peters went

on to conclude that “had the jury in the petitioner’s trial had the ‘benefit’ of Otis Robinson’s

recantations, there would have been a substantial possibility of a different result” because “[f]or

all intents and purposes, Otis Robinson was the State’s entire case.” Id. at 4. Judge Peters did not

assess the credibility of Robinson’s recantations, the reasons for the recantations, or their contents,

simply stating that Robinson had recanted the testimony “on at least three occasions,” one of which

he “traveled voluntarily from out of state to testify.” Id. at 5. He also noted that Robinson “has

never wavered in his ‘formal withdrawal or renunciation of [his] prior testimony.” Id. He thus

reached “the inescapable conclusion that multiple recantations of the uncorroborated testimony by

the sole eyewitness in Petitioner’s case have to create a substantial possibility of a different result.”

Id. at 5–6.

        The Officer Defendants argue that as a result of Judge Schwait’s adverse credibility finding

on the issue of police coercion, Plaintiff is collaterally estopped from arguing in this case that

Robinson’s statement was made as a result of that same fabrication or coercive action by the

Officer Defendants. 13 ECF 161-1 at 23. “Collateral estoppel or issue preclusion forecloses the



13
   On this issue, as with others throughout this briefing, one side or the other contends that the
other side “fails to address the substance of the argument” and that the point therefore should be
treated as conceded or waived. See, e.g., ECF 179 at 28 n.24; ECF 166 at 28. In each instance, that
contention is wholly unpersuasive. Simple differences in the way in which each party frames
clearly contested issues do not amount to “concessions” or waiver of the other party’s framework,


                                                   23
       Case 1:19-cv-02473-SAG Document 197 Filed 04/12/23 Page 24 of 36



relitigation of issues of fact or law that are identical to issues which have been actually determined

and necessarily decided in prior litigation in which the party against whom issue preclusion is

asserted had a full and fair opportunity to litigate.” Ramsay v. U.S.I.N.S., 14 F.3d 206, 210 (4th

Cir. 1994) (quotation omitted) (alteration adopted).

       Plaintiff asserts two arguments for why collateral estoppel does not apply here: that Judge

Peters’s ruling on the writ of actual innocence “overturned” Judge Schwait’s earlier adverse

credibility determination and that Judge Schwait’s factual findings are no longer viable as part of

Plaintiff’s now-vacated criminal conviction. ECF 166 at 32–34. This Court is unpersuaded by

those arguments.

       First, close scrutiny of the two judicial opinions demonstrates that they do not contain

contradictory rulings. Judge Schwait found Robinson’s testimony incredible and therefore held

there was no constitutional violation premised on coercion or fabrication of his trial testimony.

Judge Peters did not reverse that adverse credibility finding. Judge Peters simply found that the

recantation of the only eyewitness testimony, if presented to the jury, would create a substantial

possibility of a different verdict. Judge Peters did not deem Robinson’s recantation testimony to

be credible or incredible, did not use the words “coercion” or “credibility” or “fabrication,” and

did not address the reasons motivating his recantation. Judge Peters’s result would have been the

same if Robinson’s original testimony had been coerced by the police, if Robinson’s mother had

instructed him to implicate Plaintiff unbeknownst to the officers, or if Robinson had simply

changed his mind about what he believed he saw on the night of the murder. Judge Peters simply

acknowledged that the existence of Robinson’s recantation (and the resulting elimination of the




particularly in an instance like here where the parties have been given multiple chances to respond
to arguments raised by way of a hearing and supplemental filings.


                                                 24
       Case 1:19-cv-02473-SAG Document 197 Filed 04/12/23 Page 25 of 36



only eyewitness identification of the Plaintiff as the shooter) dramatically changed the landscape

of the evidence that would be presented at a trial. In short, Judge Peters addressed the effect of a

recantation—truthful or untruthful—on a jury; whereas Judge Schwait addressed the truthfulness

of that recantation in the context of whether the officers had committed a constitutional violation.

This Court therefore does not find Judge Peters to have “overruled” or in any way contradicted

Judge Schwait’s adverse credibility finding about whether Robinson’s identification and testimony

was the product of police fabrication and coercion.

       This Court also rejects Plaintiff’s alternative position that Judge Peters’s order vacating his

conviction also vacated Judge Schwait’s credibility determination. Judge Schwait’s ruling did not

constitute part of Plaintiff’s criminal case but resolved a separately filed petition and was affirmed

separately by the Maryland Court of Special Appeals. The distinction between a criminal

proceeding and a later collateral post-conviction proceeding is well established in Maryland law.

For example, a post-conviction proceeding does not suspend the finality of a conviction. See e.g.,

Waller v. Dir., Patuxent Inst., 244 Md. 229, 232 (1966) (“Moreover, since this post conviction

proceeding is a collateral one, the filing of it did not have the effect of suspending the finality of

the conviction for assault.”). If a post-conviction proceeding does not suspend the underlying

conviction’s finality, logically the reversal of the conviction would not overturn the ruling in the

post-conviction proceeding. In an unpublished opinion, the Maryland Court of Special Appeals

recently described the relationship between the two proceedings:

               In Maryland, a postconviction proceeding “does not constitute a part
               of the original criminal cause, but is an independent and collateral
               civil inquiry into the validity of the conviction and sentence[.]”
               Maryland State Bar Ass’n v. Kerr, 272 Md. 687, 689–90, 326 A.2d
               180 (1974) (emphasis added). As the Court of Appeals has
               explained: “A post-conviction proceeding, often called a ‘collateral
               proceeding,’ . . . is a collateral attack designed to address alleged
               constitutional, jurisdictional, or other fundamental violations that



                                                 25
       Case 1:19-cv-02473-SAG Document 197 Filed 04/12/23 Page 26 of 36



               occurred at trial.” Mosley v. State, 378 Md. 548, 559–60, 836 A.2d
               678 (2003) (citing Perry v. State, 357 Md. 37, 72, 741 A.2d 1162
               (1999); Davis v. State, 285 Md. 19, 22, 400 A.2d 406 (1979)). In
               Grandison v. State, 425 Md. 34, 56, 38 A.3d 352 (2012), the Court
               of Appeals quoted from the United States Supreme Court’s holding
               in Pennsylvania v. Finley, 481 U.S. 551, 555–57, 107 S. Ct. 1990,
               95 L. Ed.2 d 539 (1987), which reinforced the view that, in
               Maryland’s State courts, a postconviction proceeding is, indeed, a
               civil action:

               Postconviction relief is even further removed from the criminal
               trial than is discretionary direct review. It is not part of the criminal
               proceeding itself, and it is in fact considered to be civil in nature. It
               is a collateral attack that normally occurs only after the defendant
               has failed to secure relief through direct review of his conviction.

Calhoun-El v. State, 2020 WL 2991786, at *14 (Md. Ct. Spec. App. June 4, 2020).

       Thus, the vacation of Plaintiff’s conviction and the eventual nolle pros did not alter the

validity or finality of Judge Schwait’s order denying post-conviction relief, or the factual

determinations he made therein. And it is beyond dispute that, in the instant case, Plaintiff seeks

to prove the same alleged coercion and falsification that Judge Schwait found to be “not credible”

after hearing the evidence in 1999. Plaintiff had a full and fair opportunity to litigate the

constitutional issue during his post-conviction proceedings. 14 Because the issue in this case is

identical to that litigated and resolved before Judge Schwait and was critical and necessary to his

judgment, Plaintiff is collaterally estopped from relitigating it in this proceeding.

       At the motions hearing, Plaintiff took the position that some portions of his falsification

claim could survive a finding of collateral estoppel. This Court disagrees. There is no dispute that

Robinson made the statements and identifications that are well-documented in the various court




14
   As a practical matter, the opportunity to litigate the question in 1999 was fuller and fairer than
it could be in 2023, when files have been destroyed, important witnesses have died, and memories
have faded to a point where the facts will be near-impossible to ascertain.



                                                  26
       Case 1:19-cv-02473-SAG Document 197 Filed 04/12/23 Page 27 of 36



transcripts and other records. The question is simply whether he made those statements of his own

accord (which would mean no constitutional violation) or because he was coerced by the Officer

Defendants to make false statements (which could potentially be the premise of a constitutional

claim). Judge Schwait determined that Robinson’s testimony about fabrication and coercion was

incredible. Plaintiff’s challenge to the validity of Robinson’s underlying statements and

identifications, then, is collaterally estopped, meaning that the evidence from Robinson is properly

considered in any assessment of the probable cause the Officer Defendants had to charge or

prosecute Plaintiff for the murder.

             ii.   Dorsey

       Of course, the collateral estoppel would not extend to any arguments Plaintiff might have

about the Officer Defendants’ alleged fabrication of Dorsey’s statements and identification.

Dorsey did not testify before Judge Schwait. But “to prove a due process violation, [plaintiff] must

prove both but-for causation and proximate causation – in other words, that the alleged wrongful

act(s) caused [his] loss of liberty and the loss of liberty was a reasonably foreseeable result of the

act.” Gilliam v. Sealey, 932 F.3d 216, 238 (4th Cir. 2019); see also Evans v. Chalmers, 703 F.3d

636, 647 (4th Cir. 2012) (“[C]onstitutional torts, like their common law brethren, require a

demonstration of both but-for and proximate causation.”); Massey, 759 F.3d at 354 (“Fabrication

of evidence alone is insufficient to state a claim for a due process violation; a plaintiff must plead

adequate facts to establish that the loss of liberty—i.e., his conviction and subsequent

incarceration—resulted from the fabrication.”).

       With Robinson’s statements, testimony, and identification intact, even if Dorsey’s

statements were stricken as the product of fabrication, the Officer Defendants had probable cause

to arrest and prosecute Plaintiff. See Bailey v. Town of Smithfield, Va., 19 F.3d 10, at *3, *6 (4th




                                                  27
        Case 1:19-cv-02473-SAG Document 197 Filed 04/12/23 Page 28 of 36



Cir.1994) (unpublished decision) (finding that a single positive identification of the defendant as

the robber from a photo array sufficed to establish probable cause); Torchinsky v. Siwinski, 942

F.2d 257, 262 (4th Cir. 1991) (reasoning that “[i]t is surely reasonable for a police officer to base

his belief in probable cause on a victim’s reliable identification of his attacker,” as “it is difficult

to imagine how a police officer could obtain better evidence of probable cause than an

identification by name of assailants provided by a victim, unless, perchance, the officer were to

witness the crime himself.”); United States v. Beckham, 325 F. Supp. 2d 678, 687–88 (E.D. Va.

2004). Additionally, an identification or witness statement does not have to be “unfailingly

consistent to provide probable cause.” Spiegel v. Cortese, 196 F.3d 717, 725 (7th Cir. 1999).

Dorsey’s statement, then, did not cause Plaintiff’s loss of liberty because probable cause for

Plaintiff’s arrest existed independent of that statement. See Massey, 759 F.3d at 356 (concluding

plaintiff failed to plead facts to indicate that alleged fabrication of a photographic lineup caused

his conviction when there were other witnesses identifying plaintiff near the crime scene); Johnson

v. City of Fayetteville, 91 F. Supp. 3d 775, 807 (E.D.N.C. 2015) (concluding plaintiffs could not

prove causation when the alleged fabrication occurred after a finding of probable cause).

Moreover, Dorsey’s statement played no role once the charges against Plaintiff were brought, as

her identification or statement was not used at motions hearings or trial. See e.g., Patterson v.

Miller, 451 F. Supp. 3d 1125, 1148 (D. Ariz. 2020), aff’d, No. 20-15860, 2021 WL 3743863 (9th

Cir. Aug. 24, 2021) (finding a lack of causation when there was no evidence the ruling court

considered the alleged fabricated evidence); cf. Whitlock v. Brueggemann, 682 F.3d 567, 583 (7th

Cir. 2012) (“[I]n a trial where the fabricated evidence is the crux of the case . . . , a plaintiff could

show that the fabrication was a but-for cause of his conviction.”). Plaintiff therefore cannot make




                                                   28
       Case 1:19-cv-02473-SAG Document 197 Filed 04/12/23 Page 29 of 36



the required “but-for” showing to premise a due process claim on any fabrication of Dorsey’s

statement identifying him as the shooter.

           2. Brady Claim (Count I)

       As an alternative basis for his due process claim, Plaintiff asserts that the Officer

Defendants violated his due process rights by failing to produce exculpatory evidence in

contravention of Brady v. Maryland, 373 U.S. 83 (1963). Brady held that “suppression by the

prosecution of evidence favorable to an accused upon request violates due process where the

evidence is material either to guilt or to punishment, irrespective of the good faith or bad faith of

the prosecution.” Id. at 87. To establish a Brady violation, a plaintiff must prove that (1) the

evidence in question was favorable to the defendant in a criminal proceeding; (2) the evidence was

material to the defense; and (3) the prosecution possessed the evidence and failed to disclose it.

See Moore v. Illinois, 408 U.S. 786, 794–95 (1972).

       In the instant case, Plaintiff does not allege that the prosecuting attorney withheld evidence

from the defense, but that the Officer Defendants did not produce certain exculpatory evidence to

either the prosecutor or the defense attorney. Such conduct by officers is covered by Brady, which

also “applies to ‘evidence known only to police investigators and not to the prosecutor.’” United

States v. Blankenship, 19 F. 4th 685, 692 (4th Cir. 2021) (quoting Kyles v. Whitley, 514 U.S. 419

(1995)). Accordingly, law enforcement officers who come into possession of material evidence

favorable to a defendant have a duty to disclose that evidence to the prosecutor. See Barbee v.

Warden, Md. Penitentiary, 331 F.2d 842, 846–47 (4th Cir. 1964); Owens v. Baltimore City State’s

Attorneys Office, 767 F.3d 379, 396–98 (4th Cir. 2014). However, a plaintiff’s burden of proving

a Brady claim premised on officer conduct is higher, because “[u]nlike prosecutors . . . police

officers commit a constitutional violation only when they suppress exculpatory evidence in bad

faith.” Gilliam, 932 F.3d at 283. Bad faith can be inferred from evidence of, inter alia, fabrication


                                                 29
       Case 1:19-cv-02473-SAG Document 197 Filed 04/12/23 Page 30 of 36



of evidence, the failure to disclose “the most relevant and exculpatory evidence in the case,” or

gross deviations from regular police practice. See Gilliam, 932 F.3d at 239–40; Mellen v. Winn,

900 F.3d 1085, 1104 (9th Cir. 2018).

       Relevant here, Plaintiff contends that the Officer Defendants withheld exculpatory

information, to include (1) the initial statements by Robinson and Dorsey in which they denied

being able to identify the shooter and (2) information about the officers’ alleged fabrication of

Dorsey’s statements implicating Plaintiff for the Ali homicide. 15 In other words, to bring their

Brady claim, Plaintiff alleges fabrication, and then alleges suppression of that alleged fabrication.

Although contested, for the purposes of analyzing this claim this Court assumes, in the light most

favorable to Plaintiff, that those categories of exculpatory information actually existed and that

they were favorable to Plaintiff. But even assuming such information existed, Plaintiff has not

adduced non-speculative evidence to establish that the Defendant Officers failed to disclose it to

the prosecutor.

       “Genuine issues of material fact cannot be based on mere speculation or the building of

one inference upon another.” Barwick v. Celotex Corp., 736 F.2d 946, 963 (4th Cir. 1984); see

also Dash v. Mayweather, 731 F.3d 303, 311 (4th Cir. 2013) (noting that as the nonmoving party

rebutting the lack of evidence in the record, a plaintiff “must rely on more than conclusory

allegations, mere speculation, the building of one inference upon another, or the mere existence of

a scintilla of evidence.”). While “it is the province of the jury to resolve conflicting inferences

from circumstantial evidence[,] [p]ermissible inferences must still be within the range of

reasonable probability.” Ford Motor Co. v. McDavid, 259 F.2d 261, 266 (4th Cir. 1958), cert.




15
  Plaintiff’s arguments about the alleged fabrication of Robinson’s statements, of course, are
barred by collateral estoppel in the Brady context as well.


                                                 30
        Case 1:19-cv-02473-SAG Document 197 Filed 04/12/23 Page 31 of 36



denied, 358 U.S. 908, 79 S. Ct. 234, 3 L.Ed.2d 229 (1958). It is “the duty of the court to withdraw

the case from the jury when the necessary inference is so tenuous that it rests merely upon

speculation and conjecture.” Id. “The court’s role is especially crucial when, as here, the plaintiff’s

case, and therefore the defendant’s liability, is based solely on circumstantial evidence.” Edward

J. Sweeney & Sons, Inc. v. Texaco, Inc., 637 F.2d 105, 116 (3d Cir. 1980).

       Here, Plaintiff would ask a jury to conclude Defendants withheld exculpatory evidence in

bad faith—despite Defendants’ own testimony to the contrary and an incomplete homicide file—

on the sole basis that Plaintiff’s trial defense counsel did not make an argument about such alleged

evidence at trial. “Inferred factual conclusions based on circumstantial evidence are permitted only

when, and to the extent that, human experience indicates a probability that certain consequences

can and do follow from the basic circumstantial facts.” Edward J. Sweeney & Sons, 637 F.2d at

116. The inferential leap that Plaintiff asks this Court to make is without factual basis or reason.

       The relevant events in this case happened decades ago, and unsurprisingly most of the files

and the relevant recollections no longer exist. The defense file is unavailable. ECF 161-20. The

prosecutor’s file is unavailable. ECF 161-21 at 1. The “bits and pieces” of the homicide file that

have been recovered are provably incomplete. See infra at ECF 166-7; 179-10. The defense

attorney has no recollection of what evidence he did or did not receive. ECF 161-20. The

prosecutor has no recollection of the case at all, including what evidence she collected or produced.

ECF 161-23. And the Officer Defendants, as recounted in the factual summary herein, have no

specific recollection of their actions in this case, other than defaulting to their standard policies of

producing their entire files to the prosecuting attorneys.

        Plaintiff speculates that had the exculpatory information been produced, his defense

attorney would have used that information as impeachment to question Robinson or the Officer




                                                  31
        Case 1:19-cv-02473-SAG Document 197 Filed 04/12/23 Page 32 of 36



Defendants at hearings or at trial. 16 However, he offers no evidence to that effect, such as

deposition testimony from his counsel about his general practice or his litigation strategy in this

case (which, to be fair, counsel has already indicated he does not recall). Cf. Salter v. Olsen, 605

F. Supp. 3d 987, 1005 (E.D. Mich. 2022) (concluding a reasonable jury could infer the evidence

was withheld when plaintiff’s habeas counsel received the trial defense attorney’s file and she

testified that the evidence was not part of that file, in combination with testimony from the trial

defense attorney that possession of such evidence “would have allowed” him to take certain actions

at trial). In contrast, Plaintiff here fails to provide any evidence and his unsupported conjecture

does not amount to a genuine issue of material fact. The practical reality of this claim is that, due

to the erosion of all pertinent evidence over time, Plaintiff cannot adduce non-speculative evidence

that would allow a factfinder to reasonably conclude that exculpatory evidence was withheld. Even

if such an inference were reasonable, Plaintiff fails to present any evidence aside from speculation

that it was the Officer Defendants (as opposed to the prosecutor) who withheld such evidence. The

mere fact that a defense attorney failed to ask certain questions nearly 40 years ago cannot support

a Brady claim in a case like this one, when the record contains no supporting evidence regarding




16
   Although this Court’s ruling is based on the lack of evidence to prove withholding of the
evidence and the entirely speculative inference Plaintiff seeks, there is also a significant question
about whether the exculpatory evidence is “materially favorable to the accused” under the
circumstances of this case. The “Constitution is not violated every time the government fails or
chooses not to disclose evidence that might be helpful to the defense.” United States v.
Blankenship, 19 F.4th 685, 692 (4th Cir. 2021). Dorsey was at no time used as, or even
contemplated to be, a witness for the State in any of the court proceedings once she recanted her
initial statement. Even the credibility of the officers was not particularly pertinent at trial. As Judge
Peters observed, this trial turned on “uncorroborated testimony by [a] sole eyewitness,” Robinson.
ECF 166-3 at 5–6. In that context, it is not self-evident that raising issues about the officers’
handling of Dorsey would have been a viable trial strategy. And even the alleged initial statement
by Robinson that he had not seen anything likely fails to meet that “materially favorable” standard,
in light of the repeated consistent statements he made under oath in 1987 recounting in detail what
he observed on the night of the murder.


                                                   32
       Case 1:19-cv-02473-SAG Document 197 Filed 04/12/23 Page 33 of 36



what was in the case files or what information was disclosed (or not disclosed) by the Officer

Defendants and the prosecutor. This claim, therefore, cannot survive summary judgment.

           3. Malicious Prosecution (Counts II and VI) and Fourth Amendment Unlawful
              Detention (Count III)

       Plaintiff’s Complaint also asserts counts for malicious prosecution under both federal and

state law. 17 See Counts II and VI, respectively. Although Plaintiff’s federal claim is asserted

pursuant to § 1983, the Fourth Circuit has held “there is no such thing as a ‘§ 1983 malicious

prosecution’ claim.” Lambert v. Williams, 223 F.3d 257, 262 (4th Cir. 2000), cert. denied, 531

U.S. 1130 (2001). Instead, a federal claim for malicious prosecution “is properly understood as a

Fourth Amendment claim for unreasonable seizure which incorporates certain elements of the

common law tort.” Hupp v. Cook, 931 F.3d 307, 323–24 (4th Cir. 2019) (quoting Evans v.

Chalmers, 703 F.3d 636, 647 (4th Cir. 2012)). In this vein, then, Plaintiff’s malicious prosecution

claims overlap with his claim asserting unlawful detention under the Fourth Amendment, set forth

in Count III of his Complaint. This Court will therefore consider all three claims together.

       A Fourth Amendment unlawful detention claim requires proof that a defendant “(1) caused

(2) a seizure of the plaintiff pursuant to legal process unsupported by probable cause, and (3)

criminal proceedings terminated in the plaintiff’s favor.” Humbert v. Mayor & City Council of

Baltimore City, 866 F.3d 546, 555 (4th Cir. 2017), as amended (Aug. 22, 2017) (quoting Evans,

703 F.3d at 647). A Maryland state law claim for malicious prosecution also requires proof that

the defendant’s acts were intentional. See Caldor, Inc. v. Bowden, 330 Md. 632, 657 (1993).

       The crux of a malicious prosecution claim is the absence of probable cause, which “requires

only a probability or substantial chance of criminal activity, not an actual showing of such


17
  This Court will consider both malicious prosecution claims together although certain defenses,
such as qualified immunity, would only be available as to the federal claim. See Borzilleri v.
Mosby, 189 F. Supp. 3d 551, 50 n.4 (D. Md. 2016), aff’d, 874 F.3d 187 (4th Cir. 2017).


                                                33
       Case 1:19-cv-02473-SAG Document 197 Filed 04/12/23 Page 34 of 36



activity.” Illinois v. Gates, 462 U.S. 213, 243–44, n.13 (1983). Probable cause is “not a high bar.”

United States v. Bosyk, 933 F.3d 319, 325 (4th Cir. 2019) (quoting District of Columbia v. Wesby,

__ U.S. __, 138 S. Ct. 577, 586 (2018) (internal quotation marks omitted)). Instead, it “is a flexible

standard that simply requires ‘a reasonable ground for belief of guilt’ and ‘more than bare

suspicion.’” United States v. Ortiz, 669 F.3d 439, 444 (4th Cir. 2011) (quoting Brinegar v. United

States, 338 U.S. 160, 175 (1949)). “Reasonable ground for belief of guilt” requires a lesser showing

than “the formal preponderance-of-the-evidence standard.” Ortiz, 669 F.3d at 444–45 (citing

Gates, 462 U.S. at 235). It is an objective standard, looking at the totality of the circumstances

viewed from the perspective of “an objectively reasonable police officer” and not the beliefs of the

particular arresting officers in the case. Wesby, 138 S. Ct. at 586 (citation omitted); Gilliam, 932

F.3d at 234.

       Again, Plaintiff’s malicious prosecution claim is premised, in large part, on his estopped

assertion that the police coerced and fabricated Robinson’s statements inculpating Plaintiff. He

also tries to argue that the coercion and fabrication of Dorsey’s statements supports a malicious

prosecution or unlawful detention claim. As noted above, however, even if Dorsey’s identification

and statement were to be excised, probable cause existed due to the eyewitness statement and

identification from Robinson, along with Plaintiff’s connection to the address where the homicide

occurred. These three related claims, then, also fail under the summary judgment standard.

           4. Failure to Intervene (Count IV)

       Plaintiff has conceded that the failure to intervene claims should be dismissed against

Defendants Tewey and Ceruti. As to the remaining three Officer Defendants, Requer, Pellegrini,

and Fahlteich, the duty to intervene “attaches when an officer observes or has reason to know that

a constitutional violation is being committed by other officers and possesses a realistic opportunity

to intervene to prevent the harm from occurring.” Burley, 422 F. Supp. 3d at 1030 (internal


                                                 34
        Case 1:19-cv-02473-SAG Document 197 Filed 04/12/23 Page 35 of 36



citations and quotation marks omitted). Here, as analyzed above, no constitutional violation was

committed, and therefore summary judgment for all of the Officer Defendants is appropriate as to

the failure to intervene claim.

        B. State Law Claims

            1. Intentional Infliction of Emotional Distress (Count VII)

        Count VII alleges that the Officer Defendants intentionally inflicted emotional distress

upon Plaintiff by falsifying and concealing evidence to procure his conviction. In order to plausibly

allege intentional infliction of emotional distress (“IIED”), the alleged conduct must “be

intentional or reckless; [t]he conduct must be extreme and outrageous; [t]here must be causal

connection between the wrongful conduct and the emotional distress; [and] [t]he emotional distress

must be severe.” Lee v. Pfeifer, 916 F. Supp. 501, 506 (D. Md. 1996) (quoting Harris v. Jones,

281 Md. 560 (1977)). In addition, “[t]o be actionable, the conduct alleged must be ‘so outrageous

in character, and so extreme in degree, as to go beyond all possible bounds of decency, and to be

regarded as atrocious, and utterly intolerable in a civilized community.’” Id. at 507. “The Maryland

Court of Appeals has emphasized that ‘the tort is to be used sparingly and only for opprobrious

behavior that includes truly outrageous conduct.’” Id. at 507 (quoting Kentucky Fried Chicken

Nat’l Mgmt. Co. v. Weathersby, 326 Md. 663 (1992)). As discussed above, because Plaintiff’s

coercion and fabrication claim is estopped by Judge Schwait’s factual finding, Plaintiff cannot

prove the requisite extreme and outrageous conduct to mount an IIED claim. And any coercion

and fabrication pertaining to Dorsey’s statement could not be the basis of an IIED claim, because

her statement did not cause his lengthy incarceration. The Officer Defendants had probable cause

to arrest him without her statement and her testimony, identification, or statements were not used,

in any way, at Plaintiff’s trial.




                                                 35
       Case 1:19-cv-02473-SAG Document 197 Filed 04/12/23 Page 36 of 36



       Additionally, and as an independent ground for summary judgment, Plaintiff has not

adduced sufficient evidence of severe emotional distress. This Court does not discount the lengthy

and difficult term of incarceration Plaintiff endured. But he emerged in what appears to be good

mental health and is living a productive life. Although he has some nights of sleep deprivation, he

has been able to go to school, work a job, and have happy marriage enjoying normal marital

relations. He has not sought mental health treatment in or outside prison and does not believe he

suffers from mental illness. ECF 166-2 at 136–137; 135:22–136:12; 137:3–138:18; 143:7–11. He

has thus not proved that he suffered a “severely disabling emotional response to the defendant’s

conduct,” Harris, 281 Md. at 570 , even had that conduct been proven to be sufficiently extreme

and outrageous. Summary judgment on Count VII will be granted in favor of the Officer

Defendants.

           2. State Constitutional Claims (Count VIII)

       Plaintiff’s state constitutional claims are duplicative as they are brought pursuant to the

state analogues of his federal constitutional claims. Thus, summary judgment is also warranted on

those claims for the reasons addressed above.

IV.    CONCLUSION

       For the reasons set forth above, the Officer Defendants’ Motion for Summary Judgment,

ECF 161, will be GRANTED. 18 Judgment will be entered in favor of Defendants Pellegrini,

Requer, Fahlteich, Tewey, and Ceruti. A separate Order will be filed herewith, setting a

teleconference to discuss the case’s status.


Dated: April 12, 2023                                              /s/
                                                            Stephanie A. Gallagher
                                                            United States District Judge

18
  This Court declines to address the Officer Defendants’ assertion of qualified immunity in light
of the rulings made herein.


                                                36
